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D|STRlCT COURT CLERK
12/8/2016 8:48:29 AM j.
James A. Noel ~
Patricia Serna "
STATE OF NEW'MEXICO
COUNTY OF BERNALILLO 4
SECOND JUDIC[AL DISTRICT COURT j
§
ZENAIDA MEJIA ::
Plaintiff,
vs. ease No., D~zoz-cv~201e~07os4

DAVID PELAMAT!, TITAN TRANSFER, INC.,

and ZURICH NORTH AMERICA INSURANCE CQMPANY,

a foreign corporation doing business in New Mexico,
Defendants.

COMPLAINT FOR PERSONAL INJURY

COMB NOW Plaintiff, by and through her attomeys, Whitener Law Firm, P.A. , and for her

Complaint for Personal Injury slates:

l. Plaintifonnaida Mejia Gxereinafter “P]aintiff”), mall times material hcroto, has been
a resident of County ofBernali]lo, State of New Mexico.

2. j Deféndant Zurich North American Insurancc Company (hereinafter “Zurich“) is a
foxeign corporation doing business in Bema!illo Co\mty, State ofNow Mexico. Zurich is named ns a Z~
party herein pursuant to the holding in Martinez v. Reg‘d, 2002-NMSC-015 (2003). At all relevant
times, Dcfendant Zw'ich insured Defendants David Pelamati and Tite.n Transfer, Inc.

3. Upon information and belief, Defendant David Pclamati (hereinafcer “Defondant
Pelamati") has been at all material times hereto a resident of Tucson, County of Pima, State of
Arizona.

' 4. Upon information and belief, Defendant Titan Transfer, Inc., (hereinafcer “’I`x'tan”) is a
foreign corporation with a registered agent in Shelbyville, Tennessee.

5. The events which form the subject matter ofthis Compfaint occurred in Albuquerque,

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County of Bemaliiio, State of~New Mexico.

6. '£his court has jurisdiction over the parties and the subject matter herein, and
venue is properly laid in Bemalillo County, State ofNew Mexioo-

[. FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

7 . Plaintlff incorporates by reference the previous paragraphs as though fully set
forth herein

8. Plaintiff's claims arise out of a vehicle crash which occurred on August l, 201'5.

9. On or about August 1, 2015,~ Plalnu‘ff was operating a vehicle eastbound on Menaul
Boulevard in Albuquerque, New Mexico_

10. Defendant Pelamati was traveling northbound on University Boulevard. '

11, Defendant Pelmati entered the intersection colliding into the passengers side of
Plaintifl°s vehicle

II. NEGLIGENCE {Defendant Pelamati)

12. Plaintiff incorporates by reference the previous paragraphs as though fully set

forth herein

13.` At all relevant times, Defcndant Pelemati owed aduty to Plaintiff`, as well as other
motorists to exercise reasonable care in operation of the motor vehicle that he was operating

14. Defendant Pelamati failed to exercise reasonable care under the circumstances in
the manner or method of his driving, which resulted in the vehicle crash

15. Defendant Pelamati had a duty to drive his vehicle in a safe, careful and prudent

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16. ln violation of said duty, Defendant Pelamsti drove his vehicle in a careless, unsafe

and imprudent manner.

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Plaintif‘f.

21.`

At all relevant times, Piaintiff has the right eway.

At all relevant times, Defendant had a red light

At all relevant times, Defendant failed to yield the right of Way.

Dct`endant Pelamati failed to yield the right ofweyand struck the vehicle occupied by

ln violation of said duty, Defendant Pelatnari drove his vehicle in an unsafe,

careless and/or imprudent manner

22.

Defendant Pelamati's negligence includes one, or more than one, or all, of the

following acts or omissions:

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i.

Driver inettention;

Failing to keep a proper lockout;

Failing to keep a vehicle under control ;

Faillng to obey a audio control dcvice;

Running a red light;

Failiug to avoid contact with other vehicles on the roadwsy;
Driving a vehicle in violation of existing statutes and ordinances;
Pailing to operate a vehicle in a safe and reasonable manner; and

Drivlng a vehicle in a careless manncr.

As a direct and proximate result of Defendent Pelemati’s negligence Plainti&

sustained damages including, but not limited tc: past and future medical expenses, past and future

pain and suffering lost wages, loss of earning capacity, permanent injury, permanent disability,

lnterest, and costs

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IIL NEGLIGENT HIRING, 'I'R.AINING, SUPERVISION AND RETEN'I‘ION

24. vP’Ieirztiii§` incorporates by reference the previous pmgraphs as though fully set
forth iiercin.

25>. Defendant ”i`itan, was negligent in hiring, contracting of, mining, supervision and
retention ofDefendant Pelamati.

26. Defendant Titan’s negligence includes but is not limited to:

a) inadequate screening of Defendant Pelamati as a perspective employee or
independent oontraotor;

b) Inadequate memo,<jz,ementl training and enfowement of policies regarding
vehicle operation and maintenance

c) Ple,oement or retention of Defendant Peiamad as a vehicle or tractor-mailer
operator; and/or; and

d) lnadoquate supervision ofDefendant Peiatnati.

27. As proximate result of Defendant Titan’s negligence in hiring, contracting witb,
training, supervision and retention of Defendant Pelamati, Plaintiff suffered the above described
damages.

IV. RESPGNDEAT SUPERIOR

28. Piaintiff incorporates by reference the previous paragraphs as though fuin set forth
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29. Defendant Peiamati, at ali times material hereto, was an empioyee, conqu or agent
of Defendant Titan.

303 Defendant Pelamati, at oil times material hereto, was acting within the course and

scope of his employment with Titan and was Working under the control of Defendant and in

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furtherance of the legitimate business activities of Defendant.

3 1 . Defendant Tiwn, is liable for the actions or inactions ofDefendant Pelamati under the
doctrine of Respondear Superior.

32. Any act or omission ofan employee or contractor of a Defendant colporation acting
within the course and scope of his employment is an act or omission of the corporation

33. Defendant 'l`itan approved or authorized or ratified the negligent ®nduct of
Defendant Pelamati.

V. NEGLIGENCE (Tl\‘,an)

34. Plaint:`ff incorporates by reference the previous paragraphs as though fullv set forth
heroin

3 5.§ Defenclant Titan, owned or leased or otherwise had a posseesory interest in the vehicle
driven by }§eiamati at the time of the subject vehicle crash.

v 36. As owner, leasor, or possessor of the vehicle, Defoudant 'l`itan, owed a duty of

ordinary care and/or pursuant to. local, state or federal law, to maintain and ensure the careful

operation ofthe vehicle

3 7. Defendant breached its duty of ordinary care and/or its duty pursuant to local, state or
federal law.
38. As a proximate result ofDefendantTiten’s negligence in its obligations ofownership,
possessor interest, and mainienanoe, Plaintifi` suHered the above described damages
VI. NEGLIGENT ENTRUSTMENT (Titan)

39. Flaintiii` incorporates by reference the previous paragraphs as though fully set forth

herein.

40. Defendant Titan, entrusted a motor vehicle to Defendant Pelamati on or about August

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l, 2015.

4 l. At all times material hereto, Defendant Titan, owed a duty to Plaintiff, as well as to
others, to exercise reasonable care in the operation or entrustment of a vehicle to Defendant
Pelarnati.

42. At the time Defendant Pelamati was entrusted with the vehicle, Defendant Titan,
knew or should have known that Defe'ndant Pelamati was:

a) a poor or unskilled driver;

b) a careless or inattentive driver;

c) had been in multiple accidents before; and/or

d) was otherwise an unfit driven

43. Defendant Titan, failed to exercise reasonable care under the circumstances,'which
resulted in the vehicle crash and'the above described damages

44. The harm caused to Plaintiff and others was foreseeable

¢l-$.z As a direct and proximate result Defendant 'I`itan’s breach of the duty owed to
Plainti£t`, Defendant Pelamati caused the crash that resulted in the above described damages

`WHERBFORB, Plaintiff respectfully request relief from the Comt as follows;

46. 'For Judgment of the Court against Def`endants loan amount sufficient to
compensate Plaintlff for the above described damages suffered as a result ofthe vehicle crash

described above;

47. Fox' an award of pre-judgment interest on all sums determined to be due Plainriff

from date of the complaint until paid in full;

48. For all of Pleintifi"s costs incurred herein to be reimbursed by Defendant Titan

and Defendant Pelamati; and

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49. For all such other and additional relief as the Courf may deem appropriate in these
circumstances

50. At all relevant time, Defendant was insured by Def`endan‘€ Zw'ich.

WHBREFORE, Plaintiff respect§dly requests a reasonable award of damages in an amount

to be proven at trial and such other end further relief as the Court deems just end proper

Respeotfully submitted:

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Nfatthew .`i. O’Neill, Esq.,
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